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UNITED STATES DISTRICT COURT 9 PH 3:4)
MIDDLE DISTRICT OF FLORIDA. «, 2 2.c7¢je- 0...
ORLANDO DIVISION CNC Ge Ee

  

UNITED STATES OF AMERICA

v. CASE NO. 6:17-cr-POL-ON- FEI

18 U.S.C. § 922(g)
THEODORE VAZQUEZ SEALED
INDICTMENT
The Grand Jury charges:
COUNT ONE

On or about August 7, 2016, in the Middle District of Florida, the
defendant,
THEODORE VAZQUEZ,
having been previously convicted in any court of a crime punishable by
imprisonment for a term exceeding one year, including:

1. Manufacture or delivery of cocaine, on or about September 24,
1999

2. Possession of more than 20 grams of cannabis, on or about
October 26, 2006

3. Possession of cocaine with intent to sell or deliver, on or about
October 26, 2006

4, Delivery or distribution of cannabis, on or about June 14, 2011
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5. Possession of a controlled substance, on or about June 14,
2011

6. Possession of a concealed weapon by a convicted felon, on or
about October 14, 2011

7. Trafficking in 28 grams or more of cocaine, on or about
October 14, 2011

8. Unlawful use of a two-way communication device, on or
about October 14, 2011

9. Tampering with a witness to hinder truthful testimony, on or
about October 14, 2011,

did knowingly possess, in and affecting interstate and foreign commerce, a
firearm, that is, a Beretta, model 92FS, 9 mm pistol; a Sig Sauer, model P229,
9 mm pistol; a Benelli, model M3 Super 90, 12 gauge shotgun; a Savage,
model 93R17, .17 H.M.R. caliber rifle; and a Smith & Wesson, model M&P
15-22, .22 caliber rifle.

In violation of 18 U.S.C. §§ 922(g)(1) and 924(e).

FORFEITURE

1. The allegations contained in Count One are incorporated by
reference for the purpose of alleging forfeiture pursuant to the provisions of 18
U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

2. Upon conviction of a violation of 18 U.S.C. § 922(g), the

defendant shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and
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28 U.S.C. § 2461(c), all firearms and ammunition involved in or used in the

violation.

3. If any of the property described above, as a result of any act or

omission of the defendant:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third
party;

has been placed beyond the jurisdiction of the court;
has been substantially diminished in value; or

has been commingled with other property which cannot be
divided without difficulty,

the United States shall be entitled to forfeiture of substitute property under the

provisions of 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

A TRUE BILL, | | |

Foreperson

W. STEPHEN MULDROW

Actin One Attorney
By: £O

Embry(J/ J/Kidd
Assistant nU/Kidd States Attorney

 

Katherine M. Ho
Assistant United States Attorney
Chief, Orlando Division
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FORM OBD-34
November 17

No.

 

 

 

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Orlando Division

 

 

THE UNITED STATES OF AMERICA
vs.

THEODORE VAZQUEZ

INDICTMENT

Violations: 18 U.S.C. § 922(g)

 

A true bill, yf

Foreperson

 

Filed in open Ge) 29th day of November, 2017.

 

—Clerk

 

 

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Bail $

 

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